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                                         IN THE UNITED STATES BANKRUPTCY COURT
                                              FOR THE DISTRICT OF DELAWARE

    In re:                                                                Chapter 7

    CHRISTMAS TREE SHOPS, LLC, et al.,1                                   Case No. 23-10576 (TMH)

                                       Debtors.                           (Jointly Administered)


    GEORGE L. MILLER, in his capacity as Chapter 7 Trustee                Adv. Proc. No. 25-50824 (TMH)
    of CHRISTMAS TREE SHOPS, LLC et al.,

                                      Plaintiff,

    vs.

    ARDEN ENGINEERING CONSTRUCTORS, LLC,

                                      Defendant.


                SUMMONS AND NOTICE OF PRETRIAL CONFERENCE IN AN ADVERSARY PROCEEDING
YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this summons with the
clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that the United States and its
offices and agencies shall file a motion or answer to the complaint within 35 days.

                         Address of Clerk:          United States Bankruptcy Court
                                                    824 North Market Street, 3rd Floor
                                                    Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the Plaintiff’s attorney. Name and address of
Plaintiff’s attorneys:

                                             PACHULSKI STANG ZIEHL & JONES LLP
                                             Bradford J. Sandler (DE Bar No. 4142)
                                             Colin R. Robinson (DE Bar No. 5524)
                                             Peter J. Keane (DE Bar No. 5503)
                                             Edward A. Corma (DE Bar No. 6718)
                                             919 North Market Street, 17th Floor
                                             P.O. Box 8705
                                             Wilmington, DE 19899-8705 (Courier 19801)
                                             Telephone: (302) 652-4100
                                             Facsimile: (302) 652-4400
                                             Email:     bsandler@pszjlaw.com
                                                        crobinson@pszjlaw.com
                                                        pkeane@pszjlaw.com
                                                        ecorma@pszjlaw.com




1
          The Debtors in these chapter 7 cases and the last four digits of each Debtor’s U.S. tax identification number are as follows:
          Christmas Tree Shops, LLC (1207), Handil, LLC (1150), Handil Holdings, LLC (2891), Salkovitz Family Trust 2, LLC
          (8773), and Nantucket Distributing Co., LLC (1640).


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If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.
YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be held at
the following time and place.
                               Address: United States Bankruptcy Court   Courtroom No. 5
                               824 N. Market Street, 3rd Floor
                               Wilmington, DE 19801                      Date and Time: 7/22/2025 @ 10:00 a.m. (ET)



IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO
ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST
YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.

United States Bankruptcy
Court for the District of Delaware
                                                       /s/ Una O’Boyle
Date: May 12, 2025                                     Clerk of the Bankruptcy Court




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                                       CERTIFICATE OF SERVICE

I, Peter J. Keane, certify that I am, and at all times during the service of process was, not less than 18
years of age and not a party to the matter concerning which service of process was made. I further certify
that the service of this summons and a copy of the complaint were made May 12, 2025, by:


          Mail Service: Regular, first class United States mail, postage fully pre-paid, addressed to:

                                     SEE ATTACHED SERVICE LIST

          Personal Service: By leaving the process with defendant or with an officer or agent of defendant
at:


          Residence Service: By leaving the process with the following adult at:


        Certified Mail Service on an Insured Depository Institution: By sending the process by certified
mail addressed to the following officer of the defendant at:


                                     SEE ATTACHED SERVICE LIST

          Publication: The defendant was served as follows: [Describe briefly]


          State Law: The defendant was served pursuant to the laws of the State of ___________________,
          as follows: [Describe briefly]                                                  (name of state)

          Under penalty of perjury, I declare that the foregoing is true and correct.


Dated: May 12, 2025                                         /s/ Peter J. Keane
                                                            Peter J. Keane (DE Bar No. 5503)
                                                            PACHULSKI STANG ZIEHL & JONES LLP
                                                            919 North Market Street, 17th Floor
                                                            P O Box 8705
                                                            Wilmington, DE 19899-8705 (Courier 19801)




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Adv. Service List

FIRST CLASS MAIL & CERTIFED MAIL

Arden Engineering Constructors, LLC
Stanley M. Kosierowski, CEO
505 Narragansett Park Drive
Pawtucket, RI 02861 USA

FIRST CLASS MAIL & CERTIFED MAIL
Arden Engineering Constructors, LLC
c/o Registered Agent
CT Corporation System
10 Weybosset St
Providence, RI 02903-2818




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                                       Plaintiff,

    vs.

    ARDEN ENGINEERING CONSTRUCTORS, LLC

                                       Defendant.
                                            NOTICE OF DISPUTE RESOLUTION ALTERNATIVES

        As party to litigation you have a right to adjudication of your matter by a judge of this Court. Settlement of your
case, however, can often produce a resolution more quickly than appearing before a judge. Additionally, settlement can
also reduce the expense, inconvenience, and uncertainty of litigation.

        There are dispute resolution structures, other than litigation, that can lead to resolving your case. Alternative Dispute
Resolution (ADR) is offered through a program established by this Court. The use of these services are often productive
and effective in settling disputes. The purpose of this Notice is to furnish general information about ADR.

        The ADR structures used most often are mediation, early-neutral evaluation, mediation/arbitration and arbitration.
In each, the process is presided over by an impartial third party, called the “neutral”.

         In mediation and early neutral evaluation, an experienced neutral has no power to impose a settlement on you. It
fosters an environment where offers can be discussed and exchanged. In the process, together, you and your attorney will
be involved in weighing settlement proposals and crafting a settlement. The Court in its Local Rules requires all ADR
processes, except threat of a potential criminal action, to be confidential. You will not be prejudiced in the event a settlement
is not achieved because the presiding judge will not be advised of the content of any of your settlement discussions.

        Mediation/arbitration is a process where you submit to mediation and, if it is unsuccessful, agree that the mediator
will act as an arbitrator. At that point, the process is the same as arbitration. You, through your counsel, will present
evidence to a neutral, who issues a decision. If the matter in controversy arises in the main bankruptcy case or arises from
a subsidiary issue in an adversary proceeding, the arbitration, though voluntary, may be binding. If a party requests de novo
review of an arbitration award, the judge will rehear the case.

      Your attorney can provide you with additional information about ADR and advise you as to whether and
when ADR might be helpful in your case.
    Dated: May 12, 2025                                                 /s/ Una O’Boyle
                                                                        Clerk of the Court



1
          The Debtors in these chapter 7 cases and the last four digits of each Debtor’s U.S. tax identification number are as follows: Christmas
          Tree Shops, LLC (1207), Handil, LLC (1150), Handil Holdings, LLC (2891), Salkovitz Family Trust 2, LLC (8773), and Nantucket
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